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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

AMY GUSTAFSON,

                        Plaintiff,

v.                                                        Case No. CIV-20-1136-R

ALLSTATE VEHICLE AND PROPERTY
INSURANCE COMPANY, an Illinois
Corporation,

                        Defendant.

       ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY’S
                CORPORATE DISCLOSURE STATEMENT

       Allstate Vehicle and Property Insurance Company is a wholly-owned subsidiary of

Allstate Insurance Company, which is an Illinois insurance company. Allstate Insurance

Company is a wholly-owned subsidiary of Allstate Insurance Holdings, LLC, which is a

Delaware limited liability company. Allstate Insurance Holdings, LLC is a wholly-owned

subsidiary of The Allstate Corporation, which is a Delaware corporation. The stock of The

Allstate Corporation is publicly traded. No publicly-held entity owns 10% or more of the

stock of The Allstate Corporation.
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                                Respectfully submitted,

                                  s/ RONALD L. WALKER
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                           CERTIFICATE OF SERVICE

       This is to certify that on the 10th day of November 2020, I electronically
transmitted the attached document to the Clerk of Court using the ECF System for filing
and transmittal of a Notice of Electronic Filing to the following ECF registrants:

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       This is to certify that on the 10th day of November 2020, I sent the above and
foregoing, via certified mail, return receipt requested, to the following:

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                                         s/ RONALD L. WALKER




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